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                                                      #:60885


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                                         UNITED STATES DISTRICT COURT
                                        CENTRAL DISTRICT OF CALIFORNIA
                                                                     CASE NUMBER
In re: National Football League’s “Sunday Ticket” Antitrust
                                                                                         2:15-ml-02668−PSG (SKx)
Litigation

                              v.                    PLAINTIFF(S),

Enter name(s) of defendant(s) here.                                              APPLICATION TO THE CLERK
                                                                                       TO TAX COSTS
                                                  DEFENDANT(S)
Complete this form, including the Bill of Costs chart in section 2 and, if claiming witness fees, the Witness Fees chart in section 3.
The completed form must then be submitted to the Court in two ways: (1) saved as a PDF document and e-filed (with all necessary
attachments) in the case docket using the “Clerk to Tax Costs (CV-59)” event in the Court’s CM/ECF System; and (2) saved as a
Word document (.doc or .docx) and submitted by email (without attachments) to Cost_BillsLA@cacd.uscourts.gov. See L.R. 54-3 et
seq. and the Bill of Costs Handbook (www.cacd.uscourts.gov/court-procedures/filing-procedures/bill-costs) for more information.


 Name(s) of party or parties           Defendants National Football League, NFL Enterprises LLC, and the Individual NFL
 claiming costs:                       Clubs

 Judgment entered on:                  August 20, 2024                                   Docket #:       Dkt. 1542

 Names of party(ies) against
 whom judgment was entered: Residential Class and Commercial Class Plaintiffs (see Attachment 1)

                                      DECLARATION UNDER 28 U.S.C. § 1924
I declare under penalty of perjury that the costs itemized in this CV-59 Form are correct and were necessarily
incurred in this action and that the services for which fees have been charged were actually and necessarily
performed.
 Date: August 30, 2024                       Signature:                             /s/ Rakesh N. Kilaru
                                             Name:                   Rakesh N. Kilaru
                                             ☒ Attorney of           Defendants National Football League, NFL
                                                Record for:          Enterprises LLC, and the Individual NFL Clubs
                                                      COURT USE ONLY
  ☐ Application GRANTED in whole/part; costs are taxed in the amount of $ Enter total amount taxed here.
  ☐ Application DENIED because: ☐ Not timely filed (L.R. 54-2.1).
                                ☐ Insufficient supporting documentation provided (L.R. 54-2.1).
                                ☐ Filer is not prevailing party (L.R. 54-1).

  Date: Enter date here.                   Brian D. Karth, District Court Executive/Clerk of Court
                                              By: __________________________________
                                                  Deputy Clerk


CV-59 (01/24)                         APPLICATION TO THE CLERK TO TAX COSTS                                                 Section 1
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                          Case Title: Click or tap here to enter text.; Case No: Click or tap here to enter text.

                                                          BILL OF COSTS
                                      The Clerk does not have discretion to tax any item
                                        not identified as taxable in the Local Rules.
   Click in one of the grey boxes in the “Amount Claimed” column, enter the relevant amount, and then use the
 “tab” key to move to the next field; this will cause the form to adjust the column total at the bottom of the chart.
                                        A list of disallowance codes is provided below the chart.

                               SUPPORTING DOCUMENTS                 AMOUNT                ~ IF ANY AMOUNT DISALLOWED ~
                 AMOUNT          (Must be itemized below and       ALLOWED AMOUNT CODE*                       ADDITIONAL REASONS
 TAB            CLAIMED cross-referenced to attachments.)                           (Shaded columns for Court use only.)
                L.R. 54-3.1 Clerk’s Fees (only if in 28 USC § 1914 or www.uscourts.gov/services-forms/fees/district-court-miscellaneous-fee-
                schedule)
     1
                ($0.00)        -
                L.R. 54-3.2 Fees for Service of Process
     2
                ($0.00)        -
                L.R. 54-3.3 United States Marshal’s Fees
     3
                ($0.00)        -
                L.R. 54-3.4 Transcripts of Court Proceedings (order or stipulation required and must be attached)
     4
                ($0.00)        -
                L.R. 54-3.5 Depositions (if order or stipulation required by rule, it must be attached)
     5
                $75,094.50     See Exhibit A
                L.R. 54-3.6 Witness Fees (TAXED AT STATUTORY RATE ONLY; complete Witness Fees Chart, below)
     6
                $23,419.97     See Exhibit B
                L.R. 54-3.7 Interpreter’s Fees (document translation costs are not taxable)
     7
                ($0.00)        -
                L.R. 54-3.8 Docket Fees (only as provided by 28 U.S.C. § 1823)
     8
                ($0.00)        -
                L.R. 54-3.9 Court-Appointed Experts, Masters, Commissioners, and Receivers (attach appointment order)
     9
                ($0.00)        -
                L.R. 54-3.10 Certification, Exemplification and Reproduction of Documents (if order or stip required, it must be attached)
                L.R. 54-3.10(a): “cost of copies of documents necessarily filed and served”
         (a)
                $28,980.95     See Exhibit C
                L.R. 54-3.10(b): “cost of copies of documents or other materials admitted into evidence”
         (b)
                ($0.00)        -
                L.R. 54-3.10(c): “Fees for an official certification of proof respecting the non-existence of a document or record”
10       (c)
                ($0.00)        -
                L.R. 54-3.10(d): “Patent Office charges” for necessary “patent file wrappers and prior art patents”
         (d)
                ($0.00)        -
                L.R. 54-3.10(e): “Notary fees” of taxable documents
         (e)
                ($0.00)        -
         (f)    L.R. 54-3.10(f): “Fees for certification or exemplification of any document or record necessarily obtained for use in the case”


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                             SUPPORTING DOCUMENTS                  AMOUNT                  ~ IF ANY AMOUNT DISALLOWED ~
             AMOUNT            (Must be itemized below and         ALLOWED          AMOUNT CODE*            ADDITIONAL REASONS
 TAB         CLAIMED         cross-referenced to attachments.)                       (Shaded columns for Court use only.)
             $61,819.49      See Exhibit C
             L.R. 54-3.10(g): “cost of physically replicating or reproducing material necessarily obtained for use in the case”
      (g)
             $200,400.70     See Exhibit C
             L.R. 54-3.11 Premiums on Undertakings and Bonds
 11
             ($0.00)         -
             L.R. 54-3.12 Other Costs (Court order must be attached; only visual aids, models, and photographs taxable under this rule)
 12
             ($0.00)         -
             L.R. 54-3.13 State Court Costs (taxable only if taxable in state court; include citation to applicable state statute or rule)
 13
             ($0.00)         -
             L.R. 54-4 Items Taxable as Costs on Appeal (only items taxable under Fed. R. App. P. 39(e))
 14
             $0.00           -
             L.R. 54-5 Items Taxable as Costs on a Bankruptcy Appeal to the District Court
 15
             ($0.00)         -
TOTAL
             $389,715.61                                           $0.00           $0.00



            *Reason Codes for Disallowance of Claimed Costs:

            “A” – No supporting documents provided.
            “B” – Order/Stip required but not provided.
            “C” – Documents provided do not support full amount claimed.
            “D” – Item does not fall within the scope of the Local Rule.
            “E” – Invoice includes both taxable and non-taxable costs, but no breakdown is provided.
            “F” – Amount claimed reduced by agreement after meet and confer.
            “G” – Other.




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                                                   WITNESS FEES
  WITNESS FEES/EXPENSES COMPUTATION WORKSHEET: INSTRUCTIONS
   Attendance fees taxable only at statutory rate. 28 U.S.C. § 1821(b).
   Travel in a privately owned vehicle (“POV”) is computed at federal government rates in the year of travel. Visit gsa.gov
     for current POV mileage reimbursement rate.
   For mileage claims, distances should be documented (through Google maps or similar); point of trip origin should be
     documented if different from place of residence.
   Subsistence expenses (including lodging and meals) for overnight stay (if required due to distance) are allowed but may
     not exceed maximum per diem allowance for federal government employees. View gsa.gov lodging per diem rates. View
     gsa.gov meals and incidental expenses per diem rates.


                           WITNESS FEES (computation, see 28 U.S.C. § 1821 for statutory fees)
                                             ATTENDANCE         SUBSISTENCE             MILEAGE
            NAME, CITY AND STATE                                                                         Total Cost Each Witness
                                            Days    Total Cost Days    Total Cost   Miles   Total Cost

    Douglas Bernheim, Los Angeles,
                                              9      $360.00    9     $1,653.00 airfare/car $1,385.56               $3,398.56
    CA (trial)
    Amanda Lotz, Los Angeles, CA
                                              4      $160.00    4      $805.00 airfare      $1,760.41               $2,725.41
    (deposition)
    Brian Rolapp, Los Angeles, CA
                                              8      $320.00    8     $1,836.00 airfar/car $1,475.12                $3,631.12
    (trial)
    Cathy Yancy, Los Angeles, CA
                                             26     $1,040.00 26      $6,462.00 airfare/car $1,257.55               $8,759.55
    (trial)
    Ali Yurukoglu, Washington, DC
                                              4      $160.00    4     $1,050.50                                     $1,210.50
    (deposition)
    Ali Yurukoglu, Los Angeles, CA
                                              9      $360.00    9     $1,836.00 airfare       $818.83               $3,014.83
    (trial)
    17 additional deposition witnesses
                                              1      $680.00                                                          $680.00
    ($40 per day each)
                                                                                                                         $0.00
                                                                                                                         $0.00
                                                                                                                         $0.00
                                                                                              TOTAL               $23,419.97




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                                    Attachment 1

 Residential Class Plaintiffs

 Jonathan Frantz;
 Robert Lippincott;
 All DirecTV residential subscribers that purchased NFL Sunday Ticket from
 DirecTV, or its subsidiaries, at any time between June 17, 2011 and February 7,
 2023, the date of the Court’s class certification order. The Residential Class
 excludes the Defendants and any of their current or former parents, subsidiaries, or
 affiliates. The Residential Class also excludes all judicial officers presiding over
 this action and their immediate family members and staff, and any jurors assigned
 to this action.



 Commercial Class Plaintiffs

 Jason Baker d/b/a The Mucky Duck;
 Eugene Lennon d/b/a Gael Pub;
 All DirecTV commercial subscribers that purchased NFL Sunday Ticket from
 DirecTV, or its subsidiaries, at any time between June 17, 2011 and February 7,
 2023, the date of the Court’s class certification order. The Commercial Class
 excludes the Defendants and any of their current or former parents, subsidiaries, or
 affiliates. The Commercial Class also excludes all judicial officers presiding over
 this action and their immediate family members and staff, and any jurors assigned
 to this action.



 Pursuant to Federal Rule of Civil Procedure 23(c)(3)(B), notice was duly directed
 to the Residential Class and Commercial Class, and all persons and entities falling
 within the classes, except for those who timely requested exclusion listed below
 are found to be class members. The following individuals have opted out and are
 not members of the Residential Class or Commercial Class: Joshua Blotzer, Casey
 Bostjancic, Ma Bostjancic, Donald Cormier, Marianne Domek, James Fields,
 Caren Gallmeister, Dale Golden, Thomas Hubbard, Alexander Janda, Kathy
 Knisely, Kurtis Knisely, Nicholas Norris, Tate Okelly, Greg Ostfeld, Ken Paul,
 Beverly Raniseski, Benjamin Raslavish, Richard Rowley, Bob Rutzel, and Robert
 Seele.
